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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

LOUISE BAYLISS, BY AND THROUGH         : Case No. 1:16-cv-594
HER HUSBAND AND NEXT FRIEND,           :
STEVEN BAYLISS, ET AL.,                : Judge
                                       :
            Plaintiffs                 :
                                       :
      v.                               :
                                       :
ABUBAKAR ATIQ DURRANI, M.D., ET        : NOTICE OF REMOVAL
AL.,                                   :
                                       :
            Defendants.                :
                                       :
_____________________________________________________________________________

       Defendants West Chester Hospital, LLC, and UC Health (collectively, “Defendants”)

hereby remove to this Court the state court action described below. Removal is warranted under

28 U.S.C. § 1332(d)(11) and 28 U.S.C. § 1331. In support of removal, Defendants state as

follows:

                                       BACKGROUND

       On May 2, 2016, Plaintiffs Louise Bayliss (by and through her husband and next friend,

Steven Bayliss), Kevin and Hillary Hartness, Carolyn and William Hursong, Christopher

McCaughey (as the administrator of the Estate of Sarah Juergens), Linda Kallmeyer-Ward,

Katelyn Kauffman, Amanda Koch, Ruvimbo Nyemba, Ronald Rowley, and Billy Spivy

(collectively, “Plaintiffs”), commenced this action by filing a complaint in the Court of Common

Pleas of Hamilton County, in the State of Ohio, bearing case number A1602538 (“Complaint”)

(attached hereto as Exhibit A). Plaintiffs allege that Dr. Abubakar Atiq Durrani (“Dr. Durrani”),

while under suspension, performed and/or assisted in the performance of unnecessary surgeries

on Plaintiffs that resulted in complications and injuries. Compl. ¶¶ 6-9; 25-273; 342-50.
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Plaintiffs also bring claims against Defendants West Chester Hospital and UC Health for

negligence, negligent credentialing, supervision, and retention, fraud, spoliation of evidence,

violations of the Ohio Consumer Sales Practices Act, and state RICO claims. Compl. ¶¶ 774-

824; 920-942. Plaintiffs previously filed individual lawsuits against Defendants in the Butler

County Court of Common Pleas. See Compl., Steven Bayliss, Executor for the Estate of Louise

Bayliss v. Abubakar Atiq Durrani, et al., Butler County Common Pleas Case No. CV 2014 07

1944 (attached hereto as Exhibit B). Those suits were later voluntarily dismissed pursuant to

Ohio R. Civ. P. 41(A) before being re-filed in Hamilton County. See Notice of Dismissal, Steven

Bayliss, Executor for the Estate of Louise Bayliss v. Abubakar Atiq Durrani, et al., Butler County

Common Pleas Case No. CV 2014 07 1944 (attached hereto as Exhibit C).

       This case, which consolidates ten previously filed individual suits, is one of hundreds of

nearly identical suits against the Defendants. Some of these cases were filed in Hamilton County,

and some were originally filed in Butler County. Plaintiffs have denominated their re-filed cases

as a “Dr. Durrani Case,” causing them to be assigned to Hamilton County Common Pleas Judge

Robert Ruehlman. On December 7, 2015, in preparation for a December 14 case management

conference regarding all of the Hamilton County cases (including those re-filed after being

dismissed in Butler County), Plaintiffs’ counsel submitted to Judge Ruehlman a lengthy

“binder,” which included, among other things, a number of motions, descriptions of Plaintiffs’

counsel’s positions on various pre-trial issues, and lists of cases currently pending or which were

to be filed. See Plaintiffs’ Binder for December 14, 2015 Case Management Conference

(“Binder”) (attached hereto as Exhibit D). In all, Plaintiffs’ counsel claimed to represent

Plaintiffs in some 520 individual cases as part of this litigation, including 172 already filed in

Hamilton County, 258 that Plaintiffs’ counsel planned to dismiss in Butler County and re-file in




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Hamilton County, and 40 more Butler County cases that were the subject of a pending motion to

transfer to Hamilton County as of December 7.1 Id., pp. 8, 19-29, 209-23, 226-235.

          In the Binder, Plaintiffs unambiguously requested that Judge Ruehlman set “ALL” of

these cases for one single, combined trial or, at a minimum, several smaller group trials. See,

e.g., Binder, p. 179-80 (listing “[o]ne scheduled trial for ALL cases [to begin] August 1, 2016”

as Plaintiffs’ top choice in a list of their “Preferences in Order of Preference for Trial Settings”);

id., p. 180 (listing “Group Trials with Many Options” as Plaintiffs’ second choice); id., p. 126

(stating that “[t]he Court has many options [for setting trial dates, including] [s]chedul[ing] one

trial. . . . [or] [s]et[ting] trials by groups . . . .”); id., pp. 153-177 (attaching and citing Suida v.

Howard, Nos. C-000656, C-000687, 2002 WL 946188 (Ohio Ct. App. May 10, 2002) for the

proposition that “group trials [are] allowed]”). Here, every Plaintiff listed in this Complaint was

explicitly referenced and included in the Binder as part of the Plaintiffs’ joint trial proposal. See

Binder, pp. 181-99, 209-23.

          Although Judge Ruehlman did not grant Plaintiffs’ request for a single trial, in a

December 15, 2015 order, the court scheduled several trials as follows:

          1)     February 29, 2016: trial in Mike & Amber Sand v. Abubakar Atiq Durrani, et al.,
                 Hamilton County Common Pleas Case No. A 1506694;

          2)     March 14, 2016: trial in Steven Andrew Schultz v. Abubakar Atiq Durrani, et al.,
                 Hamilton County Common Pleas Case No. A 1506861;

          3)     May 2, 2016: trial in 14 cases involving Cincinnati Children’s Hospital Medical
                 Center;

          4)     August 1, 2016: trial in 24 cases involving “West Chester/UC Health and any
                 hospital named as a Defendant in the C1C2/False Pannus cases”;

          5)     January 2, 2017: a “massive group trial” in “all remaining Dr. Durrani cases,”
                 which “could take six months to a year.”

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    This motion was later denied.


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General Order on all Dr. Durrani Hamilton County Cases for Case Management Conference

December 14, 2015, Hamilton County Common Pleas Case No. A1506577 (“General Order”)

(attached hereto as Exhibit E), pp. 11-15.

       By proposing a joint trial of the claims of over 100 plaintiffs, Plaintiffs created a “mass

action,” as defined in 28 U.S.C. § 1332(d)(11), making this case (and the hundreds of others

covered by the proposal) removable. This case is also removable because it implicates a

substantial federal question regarding the regulatory requirements for PureGen and BMP-2.

Accordingly, this Court has jurisdiction.

              THIS CASE IS REMOVABLE AS PART OF A MASS ACTION

       This case is removable as part of a mass action, pursuant to the mass action provisions of

the diversity jurisdiction statute, 28 U.S.C. § 1332(d)(11). A removable mass action meets the

following requirements:

       a.      It involves the monetary relief claims of 100 or more persons that are proposed to

               be tried jointly on the ground that the plaintiffs’ claims involve common questions

               of law or fact, see id. § 1332(d)(11)(B)(i);

       b.      The aggregate amount in controversy exceeds $5,000,000 and the claims of the

               individual plaintiffs exceed $75,000, see id. §§ 1332(a), (d)(2), (d)(11)(B)(i); and

       c.      Any plaintiff is a citizen of a State different from any defendant, see id. §

               1332(d)(2)(A).

These requirements are satisfied here.




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A.     The Plaintiffs’ Binder in the Hamilton County Action Proposed a Joint Trial of the
       Claims of 100 or More Persons

       This case is removable as part of a mass action. In the Binder submitted to Judge

Ruehlman, Plaintiffs’ counsel explicitly proposed that this case be tried jointly with hundreds of

other cases. See 28 U.S.C. § 1332(d)(11)(B)(i); Binder, pp. 181-99, 209-23. Plaintiffs’ counsel

based this request on its belief that these cases involve common questions of law or fact. See 28

U.S.C. § 1332(d)(11)(B)(i); Binder, p. 179-80 (listing factors that all of the cases proposed to be

tried jointly “have in common”); id., p. 186 (“The claims against the hospital Defendants are the

same in each case. It’s silly to try the same fact issue against the hospital to 500 juries.”); id., p.

187 (listing factors “common to all cases”). Thus, the first mass action requirement is satisfied.

       This element is met even though this case has just ten plaintiffs (in fact, most of the cases

that were proposed to be tried jointly have just one plaintiff). The Sixth Circuit will address this

issue in a pending appeal. (See Doc. 38-1, In re Abubakar Aitq Durrani, M.D., et al., 6th Cir. No.

16-0304 (attached as Exhibit F).) However, the Seventh, Eighth, and Ninth Circuits have

explicitly approved mass action removal of individual actions where each includes fewer than

100 plaintiffs, but the actions are proposed to be tried jointly and, combined, involve at least 100

plaintiffs. See Corber v. Xanodyne Pharm., Inc., 771 F.3d 1218, 1220 (9th Cir. 2014) (removal

proper in mass action consisting of several cases, each of which had fewer than 100 plaintiffs but

had “far more than 100 plaintiffs when considered together”); Atwell v. Boston Scientific Corp.,

740 F.3d 1160, 1161-62 (8th Cir. 2013) (removal proper in mass action consisting of three suits,

each involving fewer than 100 plaintiffs, even though each case involved fewer than 100

plaintiffs); In re Abbott Labs., Inc., 698 F.3d 568, 570-71 (7th Cir. 2012) (removal proper in

mass action consisting of ten cases with fewer than 100 plaintiffs each, where, combined, the

cases involved several hundred plaintiffs).



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       Further, removal is proper over all cases that Plaintiffs proposed be tried jointly,

including those that are not part of the “massive group trial” set for January 2, 2017. The relevant

inquiry is whether Plaintiffs proposed a joint trial of the claims of 100 or more plaintiffs, not

whether the claims of 100 or more plaintiffs are actually adjudicated together in a single trial. As

the Seventh Circuit has noted:

               A proposal to hold multiple trials in a single suit (say, 72 plaintiffs
               at a time, or just one trial with 10 plaintiffs and the use of
               preclusion to cover everyone else) does not take the suit outside §
               1332(d)(11). Recall the language of § 1332(d)(11)(B)(i): any “civil
               action . . . in which monetary relief claims of 100 or more persons
               are proposed to be tried jointly” is treated as a “class action”. . . .
               The question is not whether 100 or more plaintiffs answer a roll
               call in court, but whether the “claims” advanced by 100 or more
               persons are proposed to be tried jointly.

Bullard v. Burlington N. Santa Fe Ry. Co., 535 F.3d 759, 762 (7th Cir. 2008) (emphasis added);

see also Atwell, 740 F.3d at 1163 (approving of Bullard and noting that “construing the statute to

require a single trial of more than 100 claims would render 28 U.S.C. § 1332(d)(11) ‘defunct’”);

In re Abbott, 698 F.3d at 573 (“[I]t does not matter whether a trial covering 100 or more

plaintiffs actually ensues; the statutory question is whether one has been proposed.” (quoting

Bullard, 535 F.3d at 762)). Thus, the fact that that Judge Ruehlman scheduled two individual

trials as well as two group trials for 14 and 24 plaintiffs is irrelevant. Plaintiffs’ proposal,

standing alone, satisfies the first requirement of mass action removal as to each and every case

included in that proposal.

B.     The Amount in Controversy Is Satisfied

       Both the individual $75,000 and aggregate $5,000,000 amount in controversy

requirements for mass action removal are satisfied. See 28 U.S.C. §§ 1332(a), (d)(2),

(d)(11)(B)(i). It is apparent from the face of Plaintiffs’ Complaint and the serious nature of the




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“catastrophic injuries” alleged by Plaintiffs, see Compl. Prayer for Relief, ¶¶ 1-17, that the

amount in controversy exceeds $75,000 for these Plaintiffs, individually; Pierce v. Durrani,

Judgment Entry, Hamilton Cty., Ohio Common Pleas Case No. A1200265 (Feb. 19, 2014)

(companion case involving only defendants Abubakar Durrani, M.D. and CAST) (attached

hereto as Exhibit G). Where, as here, plaintiffs allege serious bodily injuries, courts have readily

found that the amount-in-controversy requirement is satisfied. See In re Rezulin Prods. Liab.

Litig., 133 F. Supp. 2d 272, 296 (S.D.N.Y. 2001); see, e.g., Smith v. Wyeth, Inc., 488 F. Supp. 2d

625, 630-31 (W.D. Ky. 2007); accord Copley v. Wyeth, Inc., No. 09-722, 2009 WL 1089663, at

*2 (E.D. Pa. Apr. 22, 2009). This is especially true, where, as here, there is a demand for

punitive damages. See Compl., Prayer for Relief, ¶ 11; Smith v. Nationwide Property and Cas.

Ins. Co., 505 F.3d 401, 408 (6th Cir. 2007) (“As a general rule, [amount-in-controversy] analysis

must also take into account the ability of [plaintiffs] to recover punitive damages, unless it is

apparent to a legal certainty that such cannot be recovered.”). Because Plaintiffs’ claims exceed

$75,000, the aggregate amount in controversy, which embraces the claims of the more than 500

individuals who proposed to have their claims tried jointly (and whose claims also exceed

$75,000 each), easily exceeds $5,000,000. Accordingly, the amount-in-controversy requirement

is satisfied.

C.      The Diversity Requirement Is Satisfied

        The diversity requirement for mass action removal is also met. See 28 U.S.C. §§

1332(d)(2)(A), (d)(11)(A). For removal of a mass action, only “minimal diversity” is required,

i.e., at least one plaintiff must be diverse from one defendant. See id. Here, at least one

Defendant, West Chester Hospital, is a citizen of Ohio for purposes of diversity, and at least one

Plaintiff, Steven Andrew Schultz, is a citizen of Indiana. See Schultz v. Durrani, et al.,




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Complaint, Hamilton County Common Pleas Case No. A1506861, Complaint, December 16,

2015 (attached hereto as Exhibit H). Therefore, all the jurisdictional requirements of mass action

removal are met.

        THIS CASE IS REMOVABLE UNDER SUBSTANTIAL FEDERAL QUESTION
                               JURISDICTION

         This action is also removable under 28 U.S.C. § 1331 as involving a substantial federal

question. “The substantial-federal-question doctrine [has] three parts: (1) the state-law claim

must necessarily raise a disputed federal issue; (2) the federal interest in the issue must be

substantial; and (3) the exercise of jurisdiction must not disturb any congressionally approved

balance of federal and state judicial responsibilities.” Nayyar v. Mt. Carmel Health Sys., No.

2:12cv189, 2012 WL 3929830, at *2 (S.D. Ohio Sept. 10, 2012) (citing Mikulski v. Centerior

Energy Corp., 501 F.3d 555, 568 (6th Cir. 2007) (en banc)). This means, in other words, that a

state-law cause of action may arise under federal law where “the vindication of a right under

state law depends on the validity, construction, or effect of federal law.” Mikulski, 501 F.3d at

565; see also Merrell Dow, 478 U.S. at 808 (quotation omitted). The requirements are satisfied

here.

A.       The State-law Claims Necessarily Raise a Disputed Federal Issue

         Plaintiffs’ claims for negligence, negligent credentialing, supervision, and retention, and

fraud necessarily raise a disputed federal question. This Court’s decision in H.R. ex rel. Reuter v.

Medtronic, Inc. is illustrative. 996 F.Supp.2d 671, 680 (S.D. Ohio 2014). There, in a similar case

involving state law claims in a suit concerning Dr. Durrani and Medtronic, the court noted that

“[w]hile this case does not involve an agency’s compliance with a federal statute, it does present

important federal questions about federal regulation of Class–III medical devices.” Id. The Court

explained that because it would “be required to decide as a threshold question whether



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defendants violated federal law” the case “present[ed] a substantial federal question.” Id. (citing

Hartland Lakeside Joint No. 3 Sch. Dist. v. WEA Ins. Corp., No. 12–C–154, 2012 WL 1424731,

at *5 (E.D. Wis. 2012) (substantial federal question existed where, “[a]lthough the elements of

the claims asserted by the plaintiffs are governed by state law, the threshold issues that will

determine liability require the interpretation of federal statutes and regulations”)); see also

Jenkins v. Medtronic, Inc., 984 F.Supp.2d 873, 878 (W.D. Tenn. 2013) (“Plaintiffs’ claims

undoubtedly require this Court to examine federal law, and, even more specifically, examine

federal requirements imposed by the FDA through the premarket approval process. Therefore,

the Court finds Plaintiffs’ claims would be more suitably decided by federal question jurisdiction

under the substantial-federal-question doctrine.”).

       The same reasoning applies here. At the heart of the Complaint are allegations that Dr.

Durrani used BMP-2 and PureGen. Compl. ¶¶ 580-602; 603-706. BMP-2 is a bone morphogenic

protein, used as an artificial substitute for bone grafting in spine surgeries, yet it is not approved

by the FDA for certain spine surgeries. Compl. ¶¶ 584-85, 587. PureGen is harvested from living

human beings under the Stem Cell Collection program, in violation of FDA regulations. Compl.

¶¶ 603-04. PureGen is alleged to be both a biologic and a drug, regulated by the FDA. Compl. ¶¶

604, 641. The Complaint additionally alleges that Dr. Durrani violated the Anti-Kickback

Statute, 42 U.S.C. § 1320, and Stark Law, 42 U.S.C. § 1395, through his involvement with

PureGen developers and distributors, and that he violated FDA Investigation New Drug consent

rules regarding the use of PureGen. Compl. ¶¶ 657, 662. Although Plaintiffs’ causes of action

sound in state law, the supposed violations of federal law and regulatory regimes are threshold

questions in the case. Dr. Durrani’s alleged malpractice and the hospitals’ alleged negligence




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turn on the uses, misuses, and informed consent procedures established by the FDA and

associated laws.

       Plaintiffs’ allegations related to federal law include:

      That Defendants knowingly used BMP-2 “in a manner not approved by the FDA.”
       Compl. ¶ 591-92.

      That Defendants improperly used BMP-2 and BMP-2 required equipment, and failed to
       obtain patient consent in BMP-2 procedures. Compl. ¶¶ 592-602.

      There was no valid FDA license to use PureGen. Compl. ¶ 621.

      PureGen was not the subject of a federal IND application or a valid biologics license so
       its use was improper. Compl. ¶¶ 621, 624, 673.

       “Defendants would purchase and allow these doctors to use a substance not approved by
       the FDA in patients without their informed consent.” Compl. ¶ 656.

      “Implanting PureGen in any part of the spinal canal without FDA clearance, proper trials,
       and patient consent is reckless battery and violates the Hippocratic Oath[.]” Compl. ¶
       677.

      Plaintiffs claim that the majority of the surgeries occurred after FDA inspection and
       warnings about the non-FDA approved status of PureGen. Compl. ¶¶ 660, 670, 675-77.

      Plaintiffs also allege Defendants violated R.C. 3715.65(A) which states: “No person shall
       sell, deliver, offer for sale, hold for sale, or give away any new drug unless an application
       with respect to the drug has become effective under section 505 of the Federal Food,
       Drug, and Cosmetic Act, 52 Stat. 1040 (1938), 21 U.S.C.A. 301.” Compl. ¶ 642.

      Plaintiffs also allege Defendants “did not disclose their intent to use PureGen, nor did
       they inform Plaintiffs that it was a product that was not approved by the FDA for human
       use,” and that PureGen was actually used “in manners not approved by the FDA.”
       Compl. ¶¶ 700-01.

The allegations form the basis of all Plaintiffs’ claims, and demonstrate the presence of a

disputed federal issue: whether or not BMP-2 and PureGen were used in violation of FDA

regulations. Indeed, in Count III, Plaintiffs allege fraud based on a violation of FDA regulations,

stating: “West Chester Hospital/UC Health also either concealed from Plaintiffs facts they knew

about Dr. Durrani, including that Infuse/BMP-2 or PureGen would be used in Plaintiffs’ surgery,

or misrepresented to Plaintiffs the nature of the surgery, and the particular risks that were


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involved therein.” Compl. ¶ 790. This conduct is also the basis of the negligence and Ohio

Consumer Sales Protection Act, both of which require inappropriate and improper uses of

PureGen, and the Defendants’ representations contrary to the FDA concerning Dr. Durrani and

the use of PureGen, respectively. Similarly, in Count II, Plaintiffs directly tie their claim for

negligent credentialing, supervision, and retention of Dr. Durrani to a violation of federal law:

                The Safe Medical Device Act required entities such as West
                Chester Hospital/UC Health to report serious injuries, serious
                illnesses, and deaths related to failed medical devices to the FDA
                and the manufacturer; this was never done. As a direct and
                proximate result of the negligent credentialing supervision, and
                retention of Dr. Durrani, Plaintiff sustained all damages requested
                in the prayer for relief. Compl. ¶¶ 781-82.

It follows that without an initial determination that Dr. Durrani’s use of BMP-2 and PureGen is

contrary to the FDA regulations, there can be no negligence or even fraud by Dr. Durrani and the

hospitals, and therefore no knowledge of illegal practices by the Defendants. Accordingly,

because Plaintiffs cannot prevail unless they prove a violation of federal law; Plaintiffs’ claims

raise a disputed federal issue. See Medtronic, 996 F. Supp. 2d at 679.

B.      The Federal Interest is Substantial

        The federal interest at issue in this case is also substantial. The Supreme Court has

identified four aspects of a case or an issue that affect the substantiality of the federal interest: (1)

whether the case includes a federal agency, and particularly, whether that agency’s compliance

with the federal statute is in dispute; (2) whether the federal question is important (i.e., not

trivial); (3) whether a decision on the federal question will resolve the case (i.e., the federal

question is not merely incidental to the outcome); and (4) whether a decision as to the federal

question will control numerous other cases (i.e., the issue is not anomalous or isolated). Id. at

679-80 (citing Mikulski v. Centerior Energy Corp., 501 F.3d 555, 560 (6th Cir. 2007)). Like the

Medtronic case, this case does not involve an agency’s compliance with federal statute, but it


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does present “important federal questions about the federal regulation of … medical devices.” Id.

at 680. Here, as in Medtronic, resolution of the federal issues will control other cases. See, e.g.,

Wilder, et al. v. Buchanon, et. al., Butler County Comm. Pl., No. 2015051278, May 29, 2015. If

it is clear that the federal issue presented “is not anomalous or isolated,” but likely to be present

in other cases, the issue raises a substantial federal interest. Id. And that is the case here.

C.      The Exercise of Jurisdiction Would Not Disturb any Congressionally Approved
        Balance of Federal and State Judicial Responsibilities

        This Court’s exercise of jurisdiction also would not disturb any approved balance of

federal and state responsibilities. There is no bright-line rule in determining the presence of a

federal issue because “determinations about federal jurisdiction require sensitive judgments

about congressional intent, judicial power, and the federal system.” Medtronic, 996 F. Supp. 2d

at 681. The relevant inquiry is whether there is reason to think Congress would prefer “that the

federal questions presented here be resolved by state courts.” Id. (citing State of Michigan v. Bay

Mills Indian Cmty., 695 F.3d 406, 413 (6th Cir. 2012)). Where Congress has “imposed a regime

of detailed federal oversight it would be nonsensical to prevent such claims to be removed to a

federal forum.” Id. (internal quotation marks omitted).

        This case deals with questions of federal oversight under the FDA, and specifically, the

PMA. Under the PMA, Congress has set forth a regulatory plan for the Pre-Market Approval of

Medical Devices and the proper uses of those devices. Accordingly, Congress has imposed

federal oversight of this area and resolution in a federal forum will not upset a balance of federal

and state responsibilities. Quite the opposite: the exercise of federal jurisdiction here will

reinforce that balance by placing a substantial federal issue in the federal courts. Because all of

the elements are satisfied, this Court should exercise substantial federal question jurisdiction

over the case.



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                      ALL REMOVAL PROCEDURES ARE SATISFIED

        Plaintiffs submitted to Judge Ruehlman the Binder proposing a joint trial of the claims of

more than 100 Plaintiffs, including these Plaintiffs, on December 7, 2015. They e-mailed a copy

of the Binder to Defendants on that same date. This Complaint was filed on May 2, 2016 and

Defendants were served on May 5, 2016. Accordingly, this removal is timely, since it occurred

“within 30 days after receipt by the defendant, through service or otherwise, of a copy of an

amended pleading, motion, order or other paper from which it [could] first be ascertained that the

case is one which is or has become removable.” See 28 U.S.C. § 1446(b)(3); see also 28 U.S.C. §

1446(b)(1) (requiring notice of removal to be filed within 30 days of receiving “a copy of the

initial pleading setting forth the claim of relief”).

        Both Defendants that have been properly served consent to and join in this removal with

respect to federal question jurisdiction. Consent to removal is not required under CAFA. See id.

§§ 1332(d)(11), 1453(b), 1446(b)(2)(A). See Return of Service for UC Health & West Chester

Hospital, LLC, Steven Bayliss, Executor for the Estate of Louise Bayliss v. Abubakar Atiq

Durrani, et al., Hamilton County Common Pleas Case No. A1602538 (attached hereto as

Exhibit I).

        With respect to mass action jurisdiction, removal is not barred by the Ohio citizenship of

any Defendants. See id. § 1453(b).

        Copies of all process, pleadings, and orders served upon Defendants are attached hereto

as Exhibit J. See id. § 1446(a).

        Written notice of this removal is being provided to all adverse parties and is being filed

with the clerk of the Hamilton County Court of Common Pleas. See id. § 1446(d).

        Defendants hereby reserve their right to amend this notice of removal.




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       WHEREFORE, Defendants respectfully remove this action from the Common Pleas

Court of Hamilton County, in the State of Ohio, to this Court.

                                               Respectfully submitted,

                                               /s/ Russell S. Sayre
                                               Russell S. Sayre (0047125)
                                               John B. Nalbandian (0073033)
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                                               Counsel for Defendants




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                                    CERTIFICATE OF SERVICE

             The undersigned hereby certifies that a true and correct copy of the foregoing was filed

electronically on May 31, 2016. Notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s

system. A copy will also be served via electronic mail to the following:


 Matthew J. Hammer (0092483)
 Lindsay Boese (0091307)
 THE DETERS LAW FIRM
 5247 Madison Pike
 Independence, KY 41051
 Phone: (513) 729-1999
 Fax: (513) 381-4084
 mhammer@ericdeters.com

                                                        /s/ Russell S. Sayre
16265298.1




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